
HUGHES, J., would grant.
GENOVESE, J., would grant and assigns reasons.
GENOVESE, J., would grant and assigns reasons.
In its denial of this writ, the majority found that Mr. Loyola waived any right to assert insufficient notice because he had actual notice of the judgment in question. Actual notice of the judgment is irrelevant. It is well-settled that actual notice of a judgment does not waive the requirement of service. Nassau Realty Co., Inc. v. Brown , 332 So.2d 206 (La. 1976). Furthermore, any such waiver must be an express waiver and not an implied waiver, considering the undisputed fact that under our law, maintaining an appeal is favored. Shell Pipeline Corp. v. Kennedy , 00-3207, p. 4 (La. 10/16/01), 799 So.2d 475, 478. I would grant this writ and reverse the court of appeal's dismissal of Mr. Loyola's appeal.
